                                                                                Case 3:16-cr-00440-WHA Document 27 Filed 04/25/18 Page 1 of 2



                                                                          1
                                                                          2
                                                                          3
                                                                          4
                                                                          5
                                                                          6
                                                                          7                               IN THE UNITED STATES DISTRICT COURT
                                                                          8
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          9
                                                                         10
                                                                         11
United States District Court




                                                                              UNITED STATES OF AMERICA,                                    No. CR 16-00440 WHA
                               For the Northern District of California




                                                                         12                  Plaintiff,
                                                                         13     v.                                                         ORDER RE SHACKLING OF
                                                                         14                                                                DEFENDANT AT APRIL 17
                                                                              YEVGENIY ALEKSANDROVICH                                      HEARING
                                                                         15   NIKULIN,

                                                                         16                  Defendant.
                                                                                                                         /
                                                                         17
                                                                         18          Immediately prior to the April 17 status hearing in this case, the Courtroom Deputy

                                                                         19   received an email from the United States Marshals Service requesting that defendant remain

                                                                         20   shackled during the hearing. The Marshals’ request stated in full:

                                                                         21          Good Afternoon Angella, we are requesting that NIKULIN remained [sic]
                                                                                     fully restrained during his hearing before Judge Alsup this afternoon.
                                                                         22          NIKULIN has displayed assaultive behavior toward USMS staff, and
                                                                                     consistently has attempted to cause damage in our cell block areas. For
                                                                         23          example today while restrained has [sic] made attempts to again cause damage
                                                                                     to cell block by throwing wads of wet toilet paper in the ceiling to block
                                                                         24          ventilation. Additionally, we have been notified by jail staff, he has been
                                                                                     defiant against staff (non-compliance). NIKULIN has also displayed
                                                                         25          resistance towards USMS when being placed in restraints. Thank you

                                                                         26          Based on this information, the undersigned judge found that a compelling government

                                                                         27   purpose would be served by granting the Marshals’ request and that shackles were the least

                                                                         28   restrictive means for maintaining security and order in the courtroom.
                                                                                 Case 3:16-cr-00440-WHA Document 27 Filed 04/25/18 Page 2 of 2



                                                                          1          This order shall remain under seal until APRIL 23 AT NOON, after which the order shall
                                                                          2   be filed on the public docket unless one or both parties propose redactions.
                                                                          3
                                                                          4          IT IS SO ORDERED.
                                                                          5
                                                                          6   Dated: April 18, 2018.
                                                                                                                                      WILLIAM ALSUP
                                                                          7                                                           UNITED STATES DISTRICT JUDGE
                                                                          8
                                                                          9
                                                                         10
                                                                         11
United States District Court
                               For the Northern District of California




                                                                         12
                                                                         13
                                                                         14
                                                                         15
                                                                         16
                                                                         17
                                                                         18
                                                                         19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25
                                                                         26
                                                                         27
                                                                         28


                                                                                                                              2
